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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No. 1:05-cr-163-03

v.                                                          HON. ROBERT HOLMES BELL

JAMOKENTAYETTE CURTIS HAMPTON,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Jamokenteyatte Curtis Hampton has filed duplicative motions for modification

or reduction of sentence (ECF Nos. 1360 and 1369) pursuant to 18 U.S.C. §3582(c)(2) on the basis

of Amendment 782 of the United States Sentencing Guidelines, made retroactive by the Sentencing

Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, because the defendant's base offense level was calculated under the career offender

guideline and his high drug quantity drives the guidelines, the Probation Office has now found

Defendant ineligible for a reduction in sentence under Guideline Amendment 782.
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       Defense counsel has filed a response to the report of eligibility, ECF No.1499, concurring

that the career-offender designation precludes a reduction of sentence at this time. Defendant wishes

to preserve the issue for future consideration should the law change. The government has filed a

response to the Sentence Modification Report, ECF No. 1502, concurring with the Probation

Department’s assessment.

       Therefore, IT IS HEREBY ORDERED that Defendant's motions for modification of sentence

(ECF Nos. 1360 and 1369) pursuant to 18 U.S.C. § 3582(c)(2) are Denied.




Dated: March 29, 2016                            /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE
